

Stribing v Wendel &amp; Loecher, Inc. (2021 NY Slip Op 02909)





Stribing v Wendel &amp; Loecher, Inc.


2021 NY Slip Op 02909


Decided on May 7, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 7, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, CURRAN, WINSLOW, AND DEJOSEPH, JJ.


329 CA 19-02155

[*1]KIMBERLY STRIBING, SHAYLEE STRIBING, AMBER THIERRIN, JASMINE WIEPERT, CHANELLE ORTEZ AND TREVER STRIBING, PLAINTIFFS-APPELLANTS,
vWENDEL &amp; LOECHER, INC., JOHN R. LOECHER AND KALEIDA HEALTH, DEFENDANTS-RESPONDENTS. (APPEAL NO. 1.) 






CAMPBELL &amp; ASSOCIATES, EDEN (R. COLIN CAMPBELL OF COUNSEL), FOR PLAINTIFFS-APPELLANTS.
KENNEY SHELTON LIPTAK NOWAK LLP, BUFFALO (BRENT C. SEYMOUR OF COUNSEL), FOR DEFENDANTS-RESPONDENTS WENDEL &amp; LOECHER, INC., AND JOHN R. LOECHER.
ROACH BROWN MCCARTHY &amp; GRUBER, P.C., BUFFALO (MEGHANN N. ROEHL OF COUNSEL), FOR DEFENDANT-RESPONDENT KALEIDA HEALTH. 


	Appeal from an order of the Supreme Court, Erie County (Paula L. Feroleto, J.), entered November 8, 2019. The order, among other things, denied plaintiffs' motion to set aside a jury verdict. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Stribing v Wendel &amp; Loecher, Inc. ([appeal No. 2] — AD3d — [May 7, 2021] [4th Dept 2021]).
Entered: May 7, 2021
Mark W. Bennett
Clerk of the Court








